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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                        Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                              Phone: (312) 435-5850
             Chicago, Illinois 60604                                                    www.ca7.uscourts.gov




                                                    FINAL JUDGMENT
 January 2, 2019


    Before:                             FRANK H. EASTERBROOK, Circuit Judge
                                        MICHAEL S. KANNE, Circuit Judge
                                        ILANA DIAMOND ROVNER, Circuit Judge




                                         S. DAVID GOLDBERG,
                                         Plaintiff - Appellant

 No. 18-2432                             v.

                                         MICHAEL W. FRERICHS, Treasurer of the State of Illinois,
                                         Defendant - Appellee

  Originating Case Information:

 District Court No: 1:16-cv-03792
 Northern District of Illinois, Eastern Division
 District Judge Charles P. Kocoras



The judgment is VACATED, and the case is REMANDED for proceedings consistent with
Kolton and this opinion. The above is in accordance with the decision of this court entered on
this date. Appellant recovers costs.

 form name: c7_FinalJudgment(form ID: 132)
